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[D11dipob] [Order Authorizing DIP to Operate Business]




                                          ORDERED.
Dated:




                                   UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION
                                           www.flmb.uscourts.gov



In re:                                                                  Case No.
                                                                        8:22−bk−00192−CPM
                                                                        Chapter 11

StaySaver Vacations LLC




________Debtor*________/

                             ORDER AUTHORIZING DEBTOR−IN−POSSESSION
                                      TO OPERATE BUSINESS

   Debtor, having filed this Chapter 11 case, has the duties and authorizations described in 11 U.S.C. § 1108
or 11 U.S.C. § 1184, Local Rule 2081−1, and as set forth herein. Accordingly, it is

   ORDERED:

   1. Operation of Business. Debtor shall continue in possession and control of its property and as debtor in
possession may operate its business pursuant to 11 U.S.C. §§ 1108 or 1184. Debtor is authorized to pay all
necessary and current expenses of operating its business, including taxes incurred in the operation of the
business or imposed on its property, to the extent that such payments are post−petition obligations and are
necessary to preserve the assets or operate the business. Subject to the provisions of 11 U.S.C. §§ 363 and 365,
Debtor may use, sell, or lease property of the estate.

   2. Debtor−in−Possession Bank Accounts. Consistent with 11 U.S.C. § 345, Debtor is authorized and
directed to open and maintain debtor−in−possession bank accounts for the deposit, investment, and
disbursement of monies of the estate.

   3.    Insurance. Debtor shall maintain insurance customary and appropriate to Debtor's industry.

   4. Tax Returns. No later than 30 days from the date of service of this Order, Debtor shall file with the
appropriate agency any delinquent federal or state tax return for any tax period. Debtor shall timely file all
federal and state tax returns required to be filed after the commencement of this case and shall timely pay all
personal federal and state taxes that are due and payable after the commencement of this case. Debtor shall
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maintain copies of all tax returns, reports, and proof of all payments and make these available upon request for
inspection by any representative of the appropriate taxing agency, the United States Trustee, or any trustee
appointed in this case.

   5. Tax Deposits. Within three business days following the end of all pay periods, Debtor shall make all
tax deposits as required by the Internal Revenue Service and the State of Florida.

   6. Monthly Operating Reports and Quarterly Payments to United States Trustee. By the 21st day of the
month succeeding the reporting period, Debtor shall file the monthly Debtor−in−Possession Monthly
Operating Report in the format required by the United States Trustee. Under Local Rule 2081−1, Small
Business Debtors, as defined in 11 U.S.C. § 101(51D), shall include a Schedule of Receipts and
Disbursements in addition to the Small Business Monthly Operating Report. In addition, Debtor, except in
cases in which Subchapter V of Chapter 11 applies, shall timely remit to the United States Trustee the
quarterly fees required by 28 U.S.C. § 1930(a)(6).

   7. Cooperation with United States Trustee. Debtor shall cooperate with the United States Trustee by
furnishing such additional information as the United States Trustee may reasonably require in supervising the
administration of the estate. Debtor shall attend, through its senior management and counsel, any initial debtor
interview required by the United States Trustee.

    8. Deadlines for Filing Disclosure Statement and Plan. Unless otherwise ordered by the Court, the
following deadlines for filing a disclosure statement and plan apply. Any motion for an enlargement of time to
file a disclosure statement and plan shall be filed before the deadline and shall state good cause for such relief:

      (a) Small Business Debtors as defined by 11 U.S.C. § 101(51)(C) and 51(D) shall file a disclosure
statement and plan no later than 180 days from the date of the order for relief under Chapter 11.

      (b) Small Business Debtors that have elected that Subchapter V of Chapter 11 shall apply shall file a
plan no later than 90 days from the date of the order for relief under Chapter 11.

      (c) Debtors who are not Small Business Debtors shall file a plan and disclosure statement no later than
120 days from the date of the order for relief under Chapter 11.

   9. Failure to Comply. Debtor's failure to comply with any of the provisions of this Order shall constitute
cause for the dismissal or conversion of this case.

   10. Retention of Jurisdiction. The Court retains jurisdiction to alter, modify, amend, revoke, enforce,
and impose sanctions with respect to each provision of this Order.

*All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two individuals.
